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                                                                EXHIBIT A
                                          STANDARDIZED FUND ACCOUNTING REPORT

                                               Receivership in SEC v. Thurman P. Bryant III, et al.
                                                 Civil Court Docket No. 04:17‐CV‐00336‐ALM

                                       Eleventh Quarterly Reporting Period ‐ 10/01/2019 ‐ 12/31/2019

FUND ACCOUNTING:
                                                                                   Reporting Period Subtotal Prior Periods Grand Total
Line 1       Beginning Balance (As of 10/01/2019)                                      $362,354.03             $970,279.84          $0.00

             Increases in Fund Balance:

Line 2       Business Income                                                                   $0.00                $0.00           $0.00
Line 3       Cash and Securities                                                               $0.00          $424,219.65     $424,219.65
Line 4       Interest/Dividends Income                                                         $0.00                $0.00           $0.00
Line 5       Business Asset Liquidation                                                        $0.00                $0.00           $0.00
Line 6       Personal Asset Liquidation                                                    $3,564.50        $1,048,774.62   $1,052,339.12
Line 7       Third‐Party Litigation Income                                                 $9,300.00        $1,041,252.00   $1,050,552.00
Line 8       Miscellaneous ‐ Other                                                        $37,200.00          $268,627.49     $305,827.49
  Line 8a                     Total Funds Available (Lines 1 ‐8):                        $412,418.53        $2,782,873.76   $2,832,938.26

             Decreases in Fund Balance:

Line 9       Disbursements to Investors                                                    $3,937.33          $431,870.70    $435,808.03

Line 10      Disbursements for Receivership Operations                                         $0.00                $0.00          $0.00
  Line 10a   Disbursements to Receiver or Other Professionals                              $1,250.00          $435,963.32    $437,213.32
 Line 10b    Business Asset Expenses                                                           $0.00            $2,976.87      $2,976.87
  Line 10c   Personal Asset Expenses                                                      $18,800.00          $298,011.90    $316,811.90
 Line 10d    Investment Expenses                                                             $292.00            $1,624.61      $1,916.61
  Line 10e   Third‐Party Litigation Expenses
             1. Attorney Fees                                                                   $0.00       $1,250,072.33   $1,250,072.33
             2. Litigation Expenses                                                             $0.00               $0.00           $0.00
             Total Third‐Party Litigation Expenses                                              $0.00       $1,250,072.33   $1,250,072.33

 Line 10f Tax Administrator Fees and Bonds                                                     $0.00                $0.00           $0.00
 Line 10g Federal and State Tax Payments                                                       $0.00                $0.00           $0.00
          Total Disbursements for Receivership Operations                                 $24,279.33        $2,420,519.73   $2,444,799.06

Line 11    Disbursements for Distribution Expenses Paid by the Fund:
  Line 11a              Distribution Plan Development Expenses:
           1. Fees:
                            Fund Administration                                                 $0.00               $0.00          $0.00
                            Independent Distribution Consultant (IDC)                           $0.00               $0.00          $0.00
                            Distribution Agent                                                  $0.00               $0.00          $0.00
                            Consultants                                                         $0.00               $0.00          $0.00
                            Legal Advisers                                                      $0.00               $0.00          $0.00
                            Tax Advisers                                                        $0.00               $0.00          $0.00
           2. Administrative Expenses                                                           $0.00               $0.00          $0.00
           3. Miscellaneous                                                                     $0.00               $0.00          $0.00
           Total Plan Development Expenses                                                      $0.00               $0.00          $0.00

 Line 11b Distribution Plan Implementation Expenses
          1. Fees
                            Fund Administration                                                 $0.00               $0.00          $0.00
                            Independent Distribution Consultant (IDC)                           $0.00               $0.00          $0.00
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                             Distribution Agent                                         $0.00                $0.00           $0.00
                             Consultants                                                $0.00                $0.00           $0.00
                             Legal Advisers                                             $0.00                $0.00           $0.00
                             Tax Advisers                                               $0.00                $0.00           $0.00
           2. Administrative Expenses                                                   $0.00                $0.00           $0.00
           3. Investor Identification:
                             Notice/Publishing Approved Plan                            $0.00                $0.00           $0.00
                             Claimant Identification                                    $0.00                $0.00           $0.00
                             Claims Processing                                          $0.00                $0.00           $0.00
           4. Fund Administrator Bond                                                   $0.00                $0.00           $0.00
           5. Miscellaneous                                                             $0.00                $0.00           $0.00
           6. Federal Account for Investor Restitution                                  $0.00                $0.00           $0.00
           (FAIR) Reporting Expenses
           Total Plan Implementation Expenses                                           $0.00                $0.00           $0.00
           Total Disbursements for Distribution Expenses Paid by the Fund               $0.00                $0.00           $0.00

Line 12    Disbursements to Court/Other
  Line 12a          Investment Expenses/Court Registry Investment
           System (CRIS) Fees                                                           $0.00                $0.00           $0.00
 Line 12b     Federal Tax Payments                                                      $0.00                $0.00           $0.00
             Total Disbursement to Court/Other:                                         $0.00                $0.00           $0.00
             Total Funds Disburses (Line 9 ‐ 11):                                  $24,279.33        $2,420,519.73   $2,444,799.06
Line 13    Ending Balance (As of 12/31/2019):                                     $388,139.20         $362,354.03     $388,139.20
Line 14    Ending Balance of Fund ‐ Net Assets:
  Line 14a    Cash & Cash Equivalents                                             $388,139.20          $362,354.03     $388,139.20
 Line 14b     Investments                                                               $0.00            $2,053.87           $0.00
  Line 14c    Other Assets or Uncleared Funds (Frozen Accounts)                         $0.00          $359,199.09           $0.00
           Total Ending Balance of Fund ‐ Net Assets                              $388,139.20          $723,606.99     $388,139.20


OTHER SUPPLEMENTAL INFORMATION:                                             Reporting Period Subtotal Prior Periods Grand Total

           Report of Items NOT To Be Paid by the Fund:
Line 15    Disbursements for Plan Administration Expenses Not Paid by the Fund:
  Line 15a Plan Development Expenses Not Paid by the Fund:
           1. Fees                                                                      $0.00                $0.00           $0.00
                             Fund Administrator                                         $0.00                $0.00           $0.00
                             IDC                                                        $0.00                $0.00           $0.00
                             Distribution Agent                                         $0.00                $0.00           $0.00
                             Consultants                                                $0.00                $0.00           $0.00
                             Legal Advisers                                             $0.00                $0.00           $0.00
                             Tax Advisers                                               $0.00                $0.00           $0.00
           2. Administrative Expenses                                                   $0.00                $0.00           $0.00
           3. Miscellaneous                                                             $0.00                $0.00           $0.00
           Total Plan Development Expenses Not Paid by the Fund                         $0.00                $0.00           $0.00
 Line 15b Plan Implementation Expenses Not Paid by the Fund:
           1. Fees
                             Fund Administrator                                         $0.00                $0.00           $0.00
                             IDC                                                        $0.00                $0.00           $0.00
                             Distribution Agent                                         $0.00                $0.00           $0.00
                             Consultants                                                $0.00                $0.00           $0.00
                             Legal Advisers                                             $0.00                $0.00           $0.00
                             Tax Advisers                                               $0.00                $0.00           $0.00
           2. Administrative Expenses                                                   $0.00                $0.00           $0.00
           3. Investor Identification:
                             Notice/Publishing Approved Plan                            $0.00                $0.00           $0.00
                             Claimant Identification                                    $0.00                $0.00           $0.00
                             Claims Processing                                          $0.00                $0.00           $0.00
                             Web Site Maintenance/Call Center                           $0.00                $0.00           $0.00
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             4. Fund Administrator Bond                                      $0.00   $0.00   $0.00
             5. Miscellaneous                                                $0.00   $0.00   $0.00
             6. FAIR Reporting Expenses                                      $0.00   $0.00   $0.00
             Total Plan Implementation Expenses Not Paid by the Fund         $0.00   $0.00   $0.00
 Line 15c       Tax Administrator Fees & Bonds Not Paid by the Fund          $0.00   $0.00   $0.00
             Total Disbursements for Plan Administration Expenses Not Paid   $0.00   $0.00   $0.00
Line 16      Disbursements to Court/Other Not Paid by the Fund
  Line 16a       Investment Expenses/CRIS Fees                               $0.00   $0.00   $0.00
 Line 16b        Federal Tax Payments                                        $0.00   $0.00   $0.00
             Total Disbursements to Court/Other Not Paid by Fund:            $0.00   $0.00   $0.00
Line 17      DC & State Tax Payments                                         $0.00   $0.00   $0.00
Line 18      No. of Claims:
  Line 18a       # of Claims Received This Reporting Period                     0      86      86
 Line 18b        # of Claims Received Since Inception of Fund                  86      86      86
Line 19      No of Claimants/Investors
  Line 19a       # of Claimants/Investors Paid This Reporting Period            5      91      96
 Line 19b        # of Claimants/Investors Paid Since Inception of Fund         96      91      96
